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 4
 5   Attorney for Defendant
     KENNETH RITCHIE ROBERTS
 6
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )      CR. NO. S-07-0232 DLJ
                                     )
13                  Plaintiff,       )      STIPULATION AND ORDER
                                     )
14        v.                         )
                                     )      DATE: February 26, 2008
15   GARY MICHAEL HULSEY AND         )      TIME: 9:00 a.m.
     KENNETH RITCHIE ROBERTS,        )      COURT: Hon. D. Lowell Jensen
16                                   )
                    Defendants.      )
17                                   )
     _______________________________ )
18                                   )
19        Defendant, KENNETH RITCHIE ROBERTS, through Christopher Haydn-
20   Myer, Attorney At Law, and defendant, GARY MICHAEL HULSEY, through
21   Matthew Bockmon, of the Eastern California District Federal Defender’s
22   Office, and the United States of America, through Assistant U.S.
23   Attorney Michael Beckwith, agree as follows:
24        It is hereby stipulated that the status conference currently set
25   for February 26, 2008, be vacated and a new status conference be
26   scheduled on March 11, 2008 at 9:00 a.m.
27        It is further stipulated and agreed between the parties that the
28   time under the Speedy Trial Act should be excluded from today’s date to
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 1   March 11, 2008, under Local Code T4, Title 18, United States Code
 2   section 3161(h)(8)(B)(iv), to give the defendants time to further
 3   review the discovery and to adequately prepare.
 4        Counsel for Mr. Roberts was assigned to a jury trial from October
 5   2, 2007 until December 14, 2007.      Further, counsel is still researching
 6   and investigating an issue regarding asset forfeiture; however, counsel
 7   believes that this case will resolve with further negotiations.
 8
 9   Dated: February 25, 2008
10                                          Respectfully submitted,
11                                          /s/ Christopher Haydn-Myer
                                            ________________________________
12                                          CHRISTOPHER HAYDN-MYER
                                            Attorney for Defendant
13                                          KENNETH RITCHIE ROBERTS
14
     Dated: February 25, 2008
15                                          Respectfully submitted,
16                                          /s/ Christopher Haydn-Myer for
                                            ________________________________
17                                          MATTHEW BOCKMON
                                            ASSISTANT FEDERAL DEFENDER FOR
18                                          THE EASTERN DISTRICT OF CALIFORNIA
                                            Attorney for Defendant
19                                          GARY MICHAEL HULSEY
20   DATED: February 25, 2008               McGREGOR W. SCOTT
                                            United States Attorney
21
                                            /S/ Christopher Haydn-Myer for
22                                          MICHAEL BECKWITH
                                            Assistant U.S. Attorney
23                                          Attorney for Plaintiff
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28                                           2
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 1                                          ORDER
 2   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED that the status conference
 3   currently   set    for    February     26,   2008,   be   vacated   and    a   new   status
 4   conference be scheduled on March 11, 2008 at 9:00 a.m., and the time under
 5   the Speedy Trial Act should be excluded from today’s date to March 11,
 6   2008,   under     Local   Code   T4,    Title      18,   United   States   Code      section
 7   3161(h)(8)(B)(iv).
 8
 9   DATED: February 27, 2008
10                                                  ________________________________
                                                    HON. D. LOWELL JENSEN
11                                                  United States District Court Judge
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